Case 2:10-md-02179-CJB-DPC Document 6987-1 Filed 07/26/12 Page 1 of 4

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

In Re: Oil Spill by the OTL RIG ) MDL. NO. 2179
“DEEPWATER HORIZON’ in)
the GULF OF MEXICO, on }
APRIL 20, 2010 )
} SECTION: J
This Document relates to: J
5 JUDGE BARBIER
2:10-CA-10-8888 ) MAG. JUDGE SHUSHAN

ORDER
Considering the Motion of the law firm of Daniell, Upton & Perry, P.C. for leave to withdraw as
counsel, IT IS HEREBY ORDERED that the law firm of Daniell, Upton & Perry, P.C. is withdrawn as

counsel for the Claimants listed below:

Plaintiff/Claimant Document No. Cause No.
1. Jack E. Harless 60074 CA-10-8888
2. Wiliam & Sandra McCrory 51595 CA-10-8888
3. Gus A. Rush, HI 52093 CA-10-8888
4, Gregory A. Judge 51780 CA-10-8888
5. Larry W. Guy 51819 CA-10-8888
6. Mark Graubart 51839 CA-10-8888
7. Warren G. Clarke, Jr. 36783 CA-10-8888
8. Franklin E. Montgomery 53078 CA-10-8888
9, Charles A. Renfroe 52120 CA-10-8888
10. TJ. Alin 31354 CA-10-8888

11. Richard G. Alexander, Sr. 60162 CA-10-8888
Case 2:10-md-02179-CJB-DPC Document 6987-1 Filed 07/26/12 Page 2 of 4

Piaintifi/Claimant

Homewood Motorcycles, Inc.
d/b/a Big #1 Motorsports

Clint Berry

Paul S. & Linda P. Berthon
Robert P. Bolling

W. Donald Bolton, Jr.
Brown Bottling Group, Inc.

Burton Brothers Management
Company, Inc. & Joe Roe Burton

Jerry Laverne Busby

The Corcam Trust
Thomas C. Crews

Chris Crighton

Bob Ray Chriswell
George E, Dana

James R. Delaney

David Kevin Donahoe
Terry Ervin Echols
Tommy & Melissa Garnett
Gordon & Susan Gill
Jerry Donald Gordon
Willard Keith Green
Hardin Investments, LLC

James Mark Harrison

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Cause No.

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Pisintiff/Claimant

V. Clarence Hawkins

Keith S. Holley

Hopson Inland Marine, Inc.
Jerry F. Humphries

James W. Johnson

Bruce Gordon Kieffer

John Knott, HI

Michael & Dana Lenning
David Charles McGowan, Jr.

Edgar Geer McKee &
Kelton Heideiberg

Thad McLaurin & Steven Freeman
Lee A. McWilliams

John F. & Amy Slayden Meigs
Joseph Miceli

Jerome T. Moore, Jr.

Rick & Anne Partain

Billy Colby Pitts

Billy D. Pitts

Asthur Pouncey

APAS, LLC

James E, Reed, Jr.

Kenneth E. Riley

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Plaintifi/Claimant

Gilbert A. Robinson, IV

Phillip Lee & Jamie Grover Saunders

Daniel M. Scarbrough

Bradley N. Secrest

Kenneth Christopher Shelley
Jeffrey L. Smith

Charles A. & Frances 8S. Smyly
George V. & Virginia G.Steffens
Steven P. & Julie B. Stewart
Mary 8. Tatum

Marvin Fred & Susan H. Terrell

Shelby Michael &
Cynthia C. Townsend

Jane Turner

John Benjamin Urquhart
James L. Ware

Brian K. Wells

OBR, LLC

Herbert D. Young, Jr.

New Orleans, Louisiana, thisthe _ day of

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UNITED STATES DISTRICT COURT JUDGE

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